                                                                                                                           027,21'(1,('


                                 IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  
                                          MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                                  NASHVILLE	  DIVISION	  
                                                                 	  
UNITED	  STATES	  OF	  AMERICA	  	        	          )	  
	     	          	      	      	          	          )	        NO.	  	  3:11-­‐cr-­‐00012-­‐6	  
v.	   	          	      	      	          	          )	        	  
                                                           )	        JUDGE	  SHARP	  
SHATIKA	  DIX	   	      	      	          	          )	  
	  
                                   UNOPPOSED	  MOTION	  TO	  CONTINUE	  	  
	  
       Defendant	   Shatika	  Dix	   moves	  the	   Court	   for	  an	   order	  continuing	   the	  April	   8,	   2014	   1:30	  

p.m.	   hearing	   on	   the	   United	   States	   Probation	   Officer’s	   Petition,	   to	   a	   date	   after	   April	   15,	   2014,	  

convenient	   to	   the	   Court’s	   calendar	   (Docket	   No.	   2035).	   	   In	   support,	   defendant	   submits	   the	  

attached	   declaration	   of	   counsel	   and	   would	   show	   that	   counsel	   has	   a	   previously	   scheduled	  

commitment	   on	   April	   8,	   2014,	   and	   is	   unavailable	   on	  that	   date	   and	   time.	   	   The	   government	  does	  

not	   oppose	   a	   continuance	   in	   this	   matter	   and	   the	   U.S.	   Probation	   Officer	   has	   been	   advised	   of	  

defendant’s	  motion.	  

              WHEREFORE,	   PREMISES	   CONSIDERED,	   defendant	   moves	   the	   Court	   for	   an	   order	  

continuing	   the	   April	   8,	   2014	   hearing	   to	   a	   date	   after	   April	   15,	   2014,	   convenient	   to	   the	   Court’s	  

calendar.	  	  	  

                                                             	  
                                                             RESPECTFULLY	  SUBMITTED,	  
                                                             	  
                                                             s/	  Michael	  E.	  Terry	  
                                                             MICHAEL	  E.	  TERRY	  (BPRN	  3856)	  
                                                             STEPHANIE	  H.	  GORE	  (BPRN	  17080)	  
                                                             	  
                                                             Terry	  &	  Gore	  
                                                             1200	  16th	  Avenue,	  South	  
                                                             Nashville,	  TN	  	  37212	  
                                                             (615)	  321-­‐2750	  office	  
                                                             (615)	  250-­‐4915	  fax	  



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